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  6                           UNITED STATES DISTRICT COURT
  7                        SOUTHERN DISTRICT OF CALIFORNIA
  8
  9    PERLA CENTELLA,                                        CASE NO. 07CV2348-LAB
                                                              [Related Case No. 06CR1195-LAB]
 10                                     Petitioner,
              vs.
 11                                                           ORDER REQUIRING RESPONSE
                                                              TO MOTION UNDER 28 U.S.C.
 12                                                           § 2255 TO VACATE, SET ASIDE,
       UNITED STATES OF AMERICA,                              OR CORRECT SENTENCE
 13
                                      Respondent.
 14
 15          On December 17, 2007, Petitioner filed a motion pursuant to 28 U.S.C. § 2255 to
 16   vacate, set aside, or correct her 36-month sentence imposed following her
 17   September 15, 2006 guilty plea to one count of bringing in illegal aliens for financial gain and
 18   aiding and abetting. Respondent shall file and serve a responsive memorandum not later
 19   than February 4, 2008. The Response shall include any and all documents relevant to the
 20   determination of the motion. No later than March 3, 2008 Petitioner may serve and file a
 21   Reply to the Response. Thereafter, the parties shall await further order of the court. The
 22   Clerk of Court shall serve a copy of the Motion together with a copy of this Order on the
 23   United States Attorney or an authorized representative, 880 Front Street, San Diego
 24   California 92101.
 25          IT IS SO ORDERED.
 26   DATED: January 7, 2008
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 28                                                HONORABLE LARRY ALAN BURNS
                                                   United States District Judge

                                                                                              07CV2348
